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                       UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LQD BUSINESS FINANCE, LLC,                            )
                                                      )
                        Plaintiff,                    )
                                                      )   District Court Case No. 19-cv-04416
vs.                                                   )
                                                      )      Hon. Matthew F. Kennelly
AZIZUDDIN ROSE, FUNDKITE LLC,                         )
AKF, INC., d/b/a FUNDKITE,                            )
WORLD GLOBAL CAPITAL, LLC and,                        )
YELLOWSTONE CAPITAL, LLC,                             )
                                                      )
                        Defendants.                   )


  PLAINTIFF LQD BUSINESS FINANCE, LLC’S OBJECTION TO AKF’S REQUEST
      FOR A SUPERSEDEAS BOND AND A MOTION TO ENFORCE ORDER
         Plaintiff LQD BUSINESS FINANCE LLC (“LQD”) respectfully petitions this Court to

deny AKF’s request for an appeal bond and to enforce its order entered June 21, 2023 (Dkt No.

445) and submits its motion to deny AKF’s request for a bond and to enforce judgment order in

support, LQD states as follows:

      1. Following a trial on this matter, this Court made a finding that the commissions being

         held by AKF for loans referred by LQD through Rose, belonged to LQD. In its order of

         June 21, 2023 (Dkt No. 445), this Court confirmed what AKF CEO Schwarts stated

         under oath at trial, that the commission did not belong to AKF and that AKF was not

         making a claim for a commission but rather was just holding the commission until the

         Court could determine who was to receive the contested commission.

      2. Despite requests for payment, AKF has refused to turn over the funds they are holding.

         Instead, AKF has now moved to post a bond in the same amount as the commission

         ($78,000.00) for purposes of its appeal.
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3. This court has determined, without denial from AKF, that the funds are not AKF funds,

    but rather were being held in trust by AKF for the benefit of either LQD or Rose until the

    Court could determine who had superior right to the commission. This Court has also

    determined that the commission belongs to LQD, and ordered the funds transferred

    immediately over to LQD. The court did not enter any financial judgment or costs against

    AKF regarding the commission and AKF has suffered no financial loss or damage from

    the order transferring the commission.

4. AKF’s motion for a bond is prejudicial to the Plaintiff for the following reasons;

            a. The issue on appeal is not a monetary judgment per se, but rather an order

    making the determination as to which party has the rightful title to the commissions.

            b. Without a money judgement, LQD is unable to request post judgment interest,

    fees or costs.

            c. AKF has not been injured by the order of transference of commission funds that

    they admit do not belong to them.

5. During the trial, Mr. Shvarts, CEO of AKF, testified; “we decided to hold on to the

    commission until we knew who does this commission belong to. So we held the

    commission. We still hold the commission until somebody tells us whose money this

    really is.” As per this Court’s Order And Memorandum Opinion of December 31, 2023

    (Dkt No. 522).

6. To allow AKF to retain the funds without the benefit of pending interests, costs, and

    expenses and to allow AKF to post a bond would be both improper and unfair under these

    circumstances.
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   7. LQD moves this court to enter an order directing AKF to pay the funds held in their

      possession immediately.

   Wherefore LQD moves this Court to deny AKF’s motion to approve a supersedeas bond and

   to order AKF to immediately turnover to LQD the commission funds in the amount of

   $78,000.00 that are in their possession in the constructive trust all as determined by this

   Court.

   For these reasons, Plaintiff LQD respectfully requests the Court issue an order:

   (1) Denying the supersedeas bond submitted by Defendant AKF.

   (2) Enforcing the execution of the Order dated June 21, 2023 (Dkt. No. 445)

   (3) Granting any and all relief that the court deems necessary and just.




Dated: March 21, 2024

                                                     Respectfully submitted,

                                                     _________________________

                                                     Zane D. Smith, one of the attorneys for
                                                     Plaintiff, LQD Business Finance, LLC

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